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                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF LOUISIANA

PRESS ROBINSON, EDGAR CAGE,
DOROTHY NAIRNE, EDWIN RENE
SOULE, ALICE WASHINGTON, CLEE
EARNEST LOWE, DAVANTE LEWIS,
MARTHA DAVIS, AMBROSE SIMS,
NATIONAL ASSOCIATION FOR THE                 Civil Action No. 3:22-cv-00211-SDD-RLB
ADVANCEMENT OF COLORED PEOPLE
(“NAACP”) LOUISIANA STATE
CONFERENCE, AND POWER COALITION
FOR EQUITY AND JUSTICE,
                      Plaintiffs,

                             v.

KYLE ARDOIN, in his official capacity as
Secretary of State for Louisiana.

                    Defendant.


EDWARD GALMON, SR., CIARA HART,
NORRIS HENDERSON, TRAMELLE
HOWARD,
                     Plaintiffs,              Civil Action No. 3:22-cv-00214-SDD-RLB

                             v.

KYLE ARDOIN, in his official capacity as
Secretary of State for Louisiana.

                Defendant.
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  ROBINSON AND GALMON PLAINTIFFS’ PROPOSED PREHEARING SCHEDULE

       On July 17, 2023, the Court set a hearing on a remedy under the preliminary injunction

entered on June 6, 2022, and ordered that the parties meet and confer and submit a proposed pre-

hearing scheduling order. Between July 19 and 21, 2023, the parties exchanged initial proposed

schedules, met-and-conferred, and exchanged revised proposals. The parties have not been able to

reach consensus on the case schedule. The Plaintiffs propose the following schedule for prehearing

discovery, briefing, and exchange of witness and exhibit lists.

                            Event                                 Plaintiffs’     Time from
                                                                  Proposed       Order Setting
                                                                  Deadline       Hearing Dates
Submission of proposed plans and expert reports in support        8/11/2023          25 days

Exchange of fact and expert witness disclosures                   8/11/2023          25 days

Submission of responsive expert reports                            9/5/2023          50 days

Exchange of supplemental witness disclosures                       9/8/2023          53 days

Deadline for fact and expert depositions                          9/19/2023          64 days

Prehearing briefs                                                 9/26/2023          71 days

Final witness and exhibits lists                                  9/29/2023          74 days
                                                                  10/3/2023-
Remedial hearing                                                                     78 days
                                                                  10/5/2023


       Plaintiffs’ proposed schedule allows for any party, including the Defendant or Defendant-

Intervenors, to submit a new or amended map along with supporting expert evidence. Consistent

with the Court’s 2022 remedial orders, the Robinson and Galmon Plaintiffs intend to jointly submit

at most one map. Providing Plaintiffs the opportunity to propose a new map will provide for a

more robust remedial process by allowing Plaintiffs to incorporate new election data and



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accommodate concerns raised by Defendants in opposition to the initial remedial map Plaintiffs

proposed in 2022. Plaintiffs’ proposal also allows Defendants a new opportunity to submit a

proposed map, consistent with the Court’s approach to the remedial proceedings initiated last

year.1

         By contrast, Defendants decline to even contemplate a schedule that accommodates the

submission of a new proposed map, despite the two and a half months between the Court’s order

and the hearing. Defendants have offered no reason as to why the parties should be precluded from

offering a new proposed map that takes account of the most recent election data and better

addresses concerns raised during last year’s remedial proceedings.2 Under the Court’s schedule,

there is ample time for the parties to consider new proposed maps; indeed, the two and a half

months between the Court’s setting of the remedial hearing (July 17) and the hearing itself

(October 3) is almost two months more than provided during the initial remedial proceedings last

year.

         Although Plaintiffs believe the Court’s schedule allows for sufficient time for the

consideration of new maps, should the Court order that no new maps may be proposed, Plaintiffs

respectfully request that the Court also decline to permit additional expert briefing from any party

on the original maps. Plaintiffs and Defendants have already submitted expert reports in support

of and in opposition to the map Plaintiffs proposed during the June 2022 remedial proceedings,

and—with the exception of one deposition of Defendant’s expert, which was interrupted by the

issuance of the stay from the U.S. Supreme Court—expert depositions are complete. Under this


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  Any schedule the Court adopts that allows for new maps should require all parties—including Defendants, if they
choose to do so—to produce their proposed maps and any supporting expert reports by the same deadline—under
Plaintiffs’ proposed schedule, by August 11, 2023.
2
  Defendants claim that Plaintiffs stated an intention not to alter the remedial map they submitted in June 2022, but
Plaintiffs intended only to state that should no further map submissions be permitted, a remedial hearing could be set
within a couple of weeks of the status conference on July 12, 2023. The Court has now set the remedial hearing for
nearly 2.5 months from today, providing ample time to consider more up-to-date maps.


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alternative proposal, Plaintiffs and Defendants would meet and confer to reschedule the pending

expert deposition, schedule an exchange of fact witness lists and depositions of fact witnesses, and

set a deadline for pre-hearing briefs.




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Date: July 21, 2023                    Respectfully submitted,


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